                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )
                     v.                          )           No. 12-4049-06-CR-C-FJG
                                                 )
ENRIQUE R. TREVINO,                              )
                                                 )
                             Defendant.          )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Enrique Trevino by consent, appeared before the undersigned on April 3,
2014, and pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, has entered a plea of guilty to count one of the superseding
indictment filed on January 16, 2013. After cautioning and examining Defendant, under oath, in
accordance with the requirements of Rule 11, it was determined that the guilty plea was made
with full knowledge of the charge and the consequences of pleading guilty, was voluntary, and
that the offense to which Defendant has plead guilty is supported by a factual basis for each of
the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Trevino be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).




                                               Matt J. Whitworth
                                               MATT J. WHITWORTH
                                               United States Magistrate Judge
April 3, 2014
Jefferson City, Missouri




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